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                        IN THE I-INITEDSTATESDISTRICTCOURT
                            NORTHERNDISTRICTOF TEXAS
                                    DALLAS DIVISION

LINITEDSTATESOF AMERICA

               Petitioner,

VS .                                                      NO.3-10-CV-0387-B

RONDEPOLO

               Respondent.


                     FINDINGS AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE

        The United Statesof America has filed a petition to enforce an Internal Revenue Service

("IRS") summonsservedon Ron DePolo. For the reasonsstatedherein, the petition should be

granted.

                                               I.

        On December2,20A9, the IRS servedan administrativesummonson DePolo as part of an

investigationinto his federaltax liability for the calendaryears1998,1999,2000, 2001,2002, and

2004. DePolo was directed to appearbefore Karen T. Preston,an IRS RevenueOfficer, on

December14,2009 at 8:00 a.m., to give testimonyand bring for examinationall documentsand

recordsrelatingto his assetsand liabilities for the period from September1, 2009to November30,

2AA9. DePolofailed to appearas required. The governmentfiled this judicial enforcementaction

on February25,2010.

        A showcausehearingwas held on April 15,2010beforeU.S. MagistrateJudgeJeff Kaplan.

DePoloappearedat the hearingprose. SpecialAssistantU.S. Attomey Adam L. Flick appearedfor
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the government.After consideringthe witten submissionsofthe partiesandthe evidencepresented

at the hearing,the court determinesthat the summonsshould be enforced in its entirety.

                                               II.

        A federal district court may enforce an IRS summons if a taxpayer fails to appearand

producerecordsthat are relevantto a legitimatetax inquiry. 28 U.S.C. $ 760a; United Statesv.

I(yatt,637 F.zd 293,299-300 (5th Cir. l98l).         To obtain enforcementof a summons,the

govemmenthas the initial burden to show that: (l) the investigationis being conductedfor a

legitimatepurpose;(2) the summonsis relevantto that purpose;(3) the information soughtis not

already in the possessionof the IRS; and (a) all proper administrativeprocedureshave been

                                                             13L.Ed.2d112(1964).
                      Powell,379U.S.48,57-58,85S.C1.248,254-55,
followed. UnitedStatesv.

The burden of establishinga prima facie caseis "slight" or "minimal" and can be satisfiedby

presentingthe sworn affrdavit testimony of the agent who issuedthe summons. See Mazurek v.

tJnitedStates,2TlF.3d226,229-30(5th Cir. 2001); UnitedStatesv, Davis,636F.2d 1028,1034

                                                                        a primafaciecase,
(5th Cir.),cert.denied,l02 S.Ct.320 (1981). Oncethe governmentestablishes

the burden shifts to the taxpayerto rebut the Powell factors or demonstratethat enforcementof the

summonswould resultin an abuseof process.Mazurek,2Tl F.3d at230.

        The governmenthasestablisheda prima faciecasefor judicial enforcementof the summons.

In a sworndeclarationandin her testimonyat the hearing,Prestonexplainedthat sheis investigating

DePolo'stax liability for the calendaryears1998,7999,2000,2001,2002,and 2004. (SeeGov't

Pet.,Exh. B. at 1, t[ 2). BecauseDePolo failed to file tax returnsfor thoseyears,the IRS assessed

his tax liability as follows:

                        I 998               $ 30,531.00
                        r999                $ 62,336.00
                        2000                s 63,985.00
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                      2001                  s 74,336.00
                      2002                  $ 59,447.00
                      2004                  $ 66,346.00

                             Total:         $356,981.00

Prestonfurther testified that the books, records,and other documentsrequestedin the summonsare

        to the investigation,that the informationsoughtis not alreadyin the possession
necessary                                                                            ofthe IRS,

that all administrativestepsrequiredby law for issuanceof the summonshavebeentaken,andthat

there is no JusticeDepartmentreferral in effect with respectto this matter. (Seealso id.,Exh.B at

2,tTT
    6-e).
       In an attempt to rebut the government'sprima facie case,DePolo appearsto challengethe

        of taxesfor the relevantperiodsand the refusalof the IRS to answerquestionsabouthis
assessment

taxpayerrights. A summonsenforcementaction is not the propervehicle for raisingtheseissues.

SeeBeaumontKey Services,L.L.C. v. UnitedStafes,No. 3-05-CV-0973-L,2005WL 2007100at*2

(N.D. Tex. Aug. 19,2005),citing UnitedStatesv. Kis,658 F.2d 526,535 (7th Cir. l98l), cert.

denied,l02 S.Ct. I7l2 (1982). Rather,the solereasonfor sucha proceedingis to ensurethat the

IRS has issued a summons for a proper pu{pose. Id. The IRS may summon information and

documentsfor the legitimate purposeof "ascertainingthe correctnessof any return, making a return

where none has been made, determining the liability of any person for any intemal revenuetax . .

., or collectingany suchliabilityf.l" 26 U.S.C. $ 7602(a). Informationis relevantif it "might shed

light on" any aspectof the investigation. United Statesv. CaltexPetroleumCorp., l2 F.Supp.2d

545,554(NI.D.Tex.              Clearly,thedocumentssummonedbythelRSarerelevant
               1998)(citingcases).

to the ongoinginvestigationof DePolo'stax liability for the periodsin question.

       Nor hasDePolo shown that enforcementof the summonswould constitutean abuseof the

court'sprocess. To establishabuseof process,a taxpayermust produceevidenceof bad faith or
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egregiousmisconducton the part of the government. Id. at 555. This heavyburdenis consistent

with the reluctance of courts to circumscribe the broad summons authority given the IRS. Id.

DePolo appearsto arguethat the summonswas issuedfor an improper purposebecausethe IRS has

refusedto produceany tax assessment
                                 recordsand hasnot providedcertaininformationrequested

                        Suchconduct,evenif proved,falls far shortof the egregiousmisconduct
by him in correspondence.

                              Cf. UnitedStatesv.TexasHeart Institute,755F.2d469,482
requiredtoproveanabuseofprocess.

(5thCir.1985),overruledonothergrounds,UnitedStatesv.
                                                Barrett,837F.2d1341(5thCir.1988)

(badfaith foundwhereIRS plannedto unlawfully disclosethe summoneddocuments);UnitedStates

v. Deak-Perera& Co.,566 F.Supp. 1398, 1402 (D.D.C. 1983) (bad faith found where IRS

committedfraud in gatheringinformationusedto issuethe summons).

                                   RECOMMENDATION

       The government'spetition to enforce IRS summons [Doc. #1] should be granted. Ron

DePolo should be orderedto testiff and produceall books,records,papers,and other documents

specifiedin the summonsattachedasExhibit "A" to the government'spetition filed on February25,

2010. DePolo shouldbe orderedto appearwith thesematerialsbeforeRevenueOfficer Karen T.

Preston,or any other officer of the InternalRevenueService,at I100 CommerceStreet,MC5104

DAL Room951,Dallas,Texas75242,on May 17.2010at 9:00 a.m.

       A copy of this report and recommendationshall be served on all parties in the manner

providedby law. Any party who objectsto any part of this report and recommendationmust file

                                                          See28U.S.C.$636(bXl);
specificwrittenobjectionswithinl4daysafterbeingservedwithacopy.

Fpo. R. Ctv. P. 72(b). In order to be specific, an objection must identi$ the specific finding or

             to which objectionis made,statethe basisfor the objection,and speciff the place
recommendation

in the magistratejudge'sreport and recommendationwhere the disputeddeterminationis found. An
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objectionthat merely incorporatesby referenceor refersto the briefing beforethe magistratejudge

is not specific. Failureto file specificwritten objectionswill bar the aggrievedparfyfrom appealing

the factual findings and legal conclusionsof the magistratejudge that areacceptedor adoptedby the

district court, exceptupon groundsofplain error. SeeDouglassv. United ServicesAutomobileAss'n,

79 F.3d 1415,l4l7 (5th Cir. 1996).

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